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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


In re:                                        Chapter 7

PRIORIA ROBOTICS, INC.,                       CASE NO: 18- 10018-KKS

          Debtor.

                                          /

              STIPULATION FOR SUBSTITUTION OF COUNSEL

         The undersigned counsel hereby stipulate that Cory S. Simmons and the law

firm of Morgan & Morgan, P.A., shall be substituted as counsel of record for

CONDOR AERIAL, LLC and that Scott A. Underwood and Linda J.Z. Young

and the law firm of Buchanan Ingersoll & Rooney, PC shall be relieved of further

responsibility in the instant action.

Dated April 3, 2018.

By: s/ Cory S. Simmons                By: s/ Scott A. Underwood
    Cory S. Simmons                        Scott A. Underwood
    Florida Bar No. 42301                  Florida Bar No. 0730041
    MORGAN & MORGAN, P.A.                  Linda J. Z. Young
    Business Trial Group                   Florida Bar No: 093160
    76 South Laura Street, Suite 1100      BUCHANAN INGERSOLL &
    Jacksonville, Florida 32202            ROONEY PC
    Telephone: (904) 361-4417              401 E. Jackson St., Suite 2400
    Facsimile: (904) 361-4378              Tampa, FL 33602
    Email: CSimmons@forthepeople.com       Tel: (813) 222-8180
    Email: JSantos@forthepeople.com        Fax: (813) 222-8189
                                           Email:scott.underwood@bipc.com
                                           Email: linda.young@bipc.com
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                              CLIENT AUTHORIZATION

       I HEREBY consent to Cory S. Simmons, Esq. and the law firm of Morgan

& Morgan, P.A. substituting as counsel of record for CONDOR AERIAL, LLC.

By:

Its:   CEO

Dated: April 3, 2018



                          CERTIFICATE OF SERVICE

       I CERTIFY that on April 3, 2018, a true and accurate copy of this filing was

filed with the Clerk of Court’s e-filing system through which copies are served via

email to all counsel of record.

                                            s/ Cory S. Simmons
                                            Cory S. Simmons
